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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF GEORGIA
                                    WAYCROSS DIVISION

    BRANTLEY COUNTY DEVELOPMENT
    PARTNERS, LLC,

                   Plaintiff,
    v.                                                   CIVIL ACTION FILE
                                                         NO. 5:19-CV-00109-LGW-BWC
    BRANTLEY COUNTY, GEORGIA, et al.,

                   Defendants.


         DEFENDANTS’ MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFF’S
                    RENEWED MOTION FOR ATTORNEYS’ FEES

           COME NOW Defendants Brantley County, Georgia, Chris “Skipper” Harris, Randy

Davison, Brian Hendrix, Jesse Mobley, and Ray Griffin1 (“Defendants” or “County”), by and

through the undersigned counsel, and file this Memorandum of Law in Opposition to Plaintiff’s

Renewed Motion for Attorneys’ Fees and the supporting document it has submitted in support

thereof.

           Plaintiff initially filed a motion for attorney fees on May 27, 2021, (Doc. 116), after the

Court granted Plaintiff’s motion for preliminary injunction. (Doc. 114.) The Court denied

Plaintiff’s motion for attorney fees, but permitted Plaintiff to re-file the motion upon the resolution

of the interlocutory appeal. (Doc. 159.) The interlocutory appeal of the preliminary injunction has

since been dismissed as moot. (Docs. 172; 173.) Plaintiff has now filed a renewed motion for

attorney fees, again based the motion for preliminary injunction being granted. (Doc. 174.)

A.         Opposition to Renewed Motion for Attorney Fees

           Plaintiff is not a prevailing party for purposes of 42 U.S.C. § 1988. First, the County is



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    Ray Griffin is no longer a Brantley County Commissioner.
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entitled to have the basis of the preliminary injunction reviewed on appeal. Even though the

interlocutory appeal was dismissed as moot because the EPD issued Plaintiff a permit, the County

will still be able to appeal the underlying basis of the preliminary injunction decision at the

conclusion of this litigation, should the Court deny the County’s motion for summary judgment.

Thus, issuing an order requiring the County to pay hundreds of thousands of dollars in fees right

now is premature.

       Second, Plaintiff is not a prevailing party because the Court’s preliminary injunction order

was based on a question of state law, which is unrelated to any right protected by 42 U.S.C. § 1983

or the other statutes listed in 42 U.S.C. § 1988(b). Therefore, Plaintiff is not entitled to attorneys’

fees pursuant to 42 U.S.C. § 1988.

       To receive an award of attorney fees pursuant to 42 U.S.C. § 1988, a party must be a

“prevailing party” in a proceeding to enforce certain statutes, including 42 U.S.C. § 1983. 42

U.S.C. § 1988(b). Without a doubt, the Court entered a preliminary injunction that benefited

Plaintiff. However, this fact alone does not make Plaintiff a prevailing party, because Plaintiff did

not prevail on any federal constitutional claim.

       Plaintiff argues that it is entitled to attorney fees pursuant to 42 U.S.C. § 1988 because the

Court found in its favor that the 2016 Zoning Ordinance was likely unconstitutionally vague.

However, this discussion was not a determination the likelihood of success of Plaintiff’s void for

vagueness claim. Rather, it was a discussion of whether to order the County to issue re-affirmation

letters based on Plaintiff’s vested rights claim. (Doc. 114, p. 21-43.)

       In reaching the conclusion in its order, the Court acknowledged that Plaintiff limited the

basis of its motion for preliminary injunction to its assertion that it would prevail on its claim for

vested rights and Dormant Commerce Clause of the United States Constitution. (Doc. 58, p. 14;



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Doc. 114, p. 21.) The Court found that Plaintiff was not likely to succeed on the Dormant

Commerce Clause claim, and the Dormant Commerce Clause could not serve as a basis for

Plaintiff’s preliminary injunction. (Doc. 114, p. 45.) Plaintiff did not seek a preliminary injunction

based on an assertion that it would prevail on its void for vagueness claim. Thus, the Court isolated

its ruling to a finding that Plaintiff would likely prevail on its vested rights claim only. (Doc. 114,

p. 44.)

          As this Court acknowledged in its order, vested rights is a state law concept (Doc. 114, p.

21-22.) As such, it cannot serve as the basis of an award of fees under § 1988. Finch v. Vernon,

877 F. 2d 1497, 1507-08 (1989); 10 Moore’s Federal Practice - Civil § 54.171 (2021) (“A civil-

rights plaintiff does not ‘prevail’ when it brings both federal constitutional claims and state-law

tort claims, succeeds on a state-law claim, but loses on the merits of the federal constitutional

claims”).

          The Court ruled that Plaintiff was likely to succeed on the merits of the vested rights claim

with respect to three specific actions: (1) the July 9, 2020 resolution purporting to withdraw the

2015 verification letters; (2) the refusal to issue a zoning consistency reaffirmation letter; and (3)

the alleged June 15, 2017 regulatory actions which purport to rezone Plaintiff’s property under the

new 2017 zoning ordinance and adopt the 2017 Solid Waste Management Plan. (See Doc. 114,

pp.22-23.)

          Although the zoning reaffirmation letter and the applicability of the 2017 zoning ordinance

admittedly relate to the constitutional issue, they are not significant to the vested rights claim. The

County sent the EPD a zoning reaffirmation letter during the EPD’s review process and the EPD

granted Plaintiff’s permit six months later. (Docs. 164, 164-1.) Contrary to Plaintiff’s argument

and the Court’s agreement with it, the preliminary injunction was not necessary to allow Plaintiff’s



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EPD application process to proceed without hindrance. (See Doc. 114, pp.23,44.) The County did

not delay the review of Plaintiff’s EPD permit, (see Doc. 88-5, pp. 35:10-21,37:6-39:2), and the

EPD was not waiting on the reaffirmation letter to issue the permit six months later.

       The foundation of the vested rights claim is completely unrelated to the constitutional issue.

In evaluating the July 9, 2020 resolution, the Court ruled that Plaintiff was likely to succeed on the

merits that the 2015 consistency letters were valid. (Doc. 114, p.31.) The County has consistently

argued that Plaintiff did not gain vested rights because the 2014 and 2015 verification letters were

improperly executed and because Plaintiff did not comply with the County’s solid waste

management plan. (See Doc. 63, p.5; Doc. 87, pp.19-20.) The ruling that the 2015 consistency

letters were likely valid is the only reason the Court could even consider the constitutional claim

which arose over a year later.

       Defendants acknowledge that there are circumstances when prevailing on a state law claim

can serve as the basis of a § 1988 claim, but those circumstances do not exist here. Pursuant to the

Eighth Circuit in St. Louis Effort for AIDS v. Lindley-Meyers, 877 F.3d 1069 (8th Cir. 2017), in

order to serve as the basis of the attorney’s fees award, the constitutional claim must be substantial

and must have arisen from a common nucleus of operative fact. In this case, the void for vagueness

claim is not substantial and is based on different facts than the vested rights claim.

       For the reasons described above, the constitutional claim is not “substantial” and is

certainly not a substantial part of the vested rights claim. Rather, the core of the vested rights

claim is the validity or invalidity of the consistency letters. The vested rights claim entirely

depends on the validity of the consistency letters, as Plaintiff has no vested rights if the initial

consistency letters are invalid. The letters were issued well over a year before the 2016 zoning

ordinance was passed. The void for vagueness claim therefore did not arise from a common



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nucleus of operative fact as the state law vested rights claim.

       Moreover, the granting of the preliminary injunction does not serve as a basis for § 1988

attorney fees. Factually, the “substantial shift in the status quo” referenced by Plaintiff did not

occur because of the injunction; it occurred because the EPD finally decided to issue Plaintiff a

solid waste handling permit.

       The undisputed evidence shows the County did not cause any delay in the EPD’s

processing of Plaintiff’s application. (Doc. 88-5, p.35) (“Q. Do you have any knowledge of EPD

hindering the application process? A. No.”); (id. at 37) (“Q. Are you aware of any delay? A. No.”)

As the EPD itself testified, the County has not delayed the permit application review process and

the County did not cause the EPD to require any extra expenditure. (Doc. 88-5, pp. 35:10-21,37:6-

39:2.) This makes sense, because the County had no input in the permit review process and the

County clearly did not prevent Plaintiff from obtaining the permit.

       The fact that the preliminary injunction was not the impetus for the change in status quo is

emphasized by the timeline of events. The Court granted the preliminary injunction on May 14,

2021. (Doc. 114.) Plaintiff submitted its required D&O plan to the EPD over three months later,

on August 26, 2021. (Docs. 136, 136-1). The EPD then went through its “involved” process of

“thoroughly review[ing]” Plaintiff’s D&O plan. (Doc. 88-5, pp. 39:12-24, 49:17-24.) The County

sent the reaffirmation letter during this EPD review period, on November 5, 2021. (Docs. 153;

153-1.) The EPD granted Plaintiff’s permit on May 9, 2022, a full six months after the County

sent the reaffirmation letter. (Docs. 164, 164-1.) Per EPD policy, affirmation letters are not

requested until EPD has finished its review. (Doc. 88-5pp. 20:24-21:17.) EPD never asked for a

reaffirmation letter before the County sent it.




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       Prior to receiving an EPD permit, the injunction did not help Plaintiff with its purported

injury at all. The significant delay between the County’s issuance of the reaffirmation letter as

required by the preliminary injunction and the EPD’s grant of the permit illustrates that the

preliminary injunction did not change the parties’ legal positions. Plainly, the EPD was never

simply waiting on the reaffirmation letter to issue the permit.

       For these reasons, the Court should deny Plaintiff’s motion for § 1988 attorneys’ fees.

B.     Opposition to Supporting Documentation Regarding Renewed Motion for Attorney
       Fees

       The County opposes some of the itemized entries included in Plaintiff’s Notice of Filing

Supporting Documentation Regarding Award of Attorneys’ Fees, (Doc. 127), which Plaintiff

incorporated into its Renewed Motion for Attorneys’ Fees. In response to the documentation

Plaintiff has submitted thus far, Defendants adopt and incorporate herein their Memorandum of

Law in Opposition to Supporting Documentation which was previously filed. (Doc. 132.)

Defendants also intend to respond to any additional supporting documentation provided by

Plaintiff in support of its Renewed Motion for Attorneys’ Fees.

                                            Conclusion

       Plaintiff is not entitled to attorneys’ fees pursuant to 42 U.S.C. § 1988. Even if Plaintiff is

entitled to such award, it has requested an unreasonable attorney fee award in the documentation

it has submitted thus far. For these reasons, the Court should deny Plaintiff’s motion.

       Respectfully submitted this 17th day of August, 2022.

                                              FREEMAN MATHIS & GARY, LLP

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                               CERTIFICATE OF SERVICE

       I hereby certify that I have this day electronically submitted the foregoing

DEFENDANTS’ MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFF’S

RENEWED MOTION FOR ATTORNEYS’ FEES to the Clerk of Court using the CM/ECF e-

filing system which will automatically send electronic mail notification of such filing to the

following counsel of record:

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       This 17th day of August, 2022.

                                                  /s/ Dana K. Maine
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